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UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,              )   CR. NO. 17-00101 LEK
                                       )
          Plaintiff,                   )   GOVERNMENT’S MOTION IN LIMINE
                                       )   TO PROSCRIBE USE OF INTERVIEW
    vs.                                )   REPORTS; CERTIFICATE OF
                                       )   SERVICE
ANTHONY T. WILLIAMS, (1)               )
ANABEL CABEBE        (2)               )
                                       )
          Defendants.                  )
                                       )

                     GOVERNMENT’S MOTION IN LIMINE
                 TO PROSCRIBE USE OF INTERVIEW REPORTS

      The government respectfully submits moves this Court in Limine to

proscribe the improper use of investigative interview reports. The defendant’s
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Exhibit List directly references no fewer than 15 reports of investigation prepared

by the Federal Bureau of Investigation. Def. Exh. List 3, ECF No. 767 (Defendant

Exhibits (DX) 2002, 03, 04, 06, 09-19). Moreover, as most of the defendant’s

exhibits appear to be unrelated documents that have been scanned together into a

single PDF file, it is possible that other such reports are included among the

defendant’s exhibits.

      As demonstrated below, the interview summaries prepared by investigative

case agents are not statements of the witness interviewees pursuant to the Jencks

Act, 18 U.S.C. § 3500, and the government asks that the Court preclude the

defendant from introducing the contents of these reports to impeach witnesses

during cross examination, publishing the contents to the jury, or otherwise

suggesting to the jury that the reports are statements of the witnesses, who did not

write them or adopt them.

I.    Statements Contained Within Investigative Interview
      Reports Are Not Witness Statements Pursuant To The Jencks Act

      In order to provide for full and fair cross-examination, the Jencks Act

requires that after a witness for the government testifies on direct examination, the

government must provide the defendant with any statements made by the witness

that relates to the subject of his or her testimony. 18 U.S.C. § 3500. A statement

within the meaning of the Jencks Act is a “written statement made by said witness

and signed or otherwise adopted or approved by him,” a recording or transcription

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that is “a substantially verbatim recital of an oral statement made by said witness

and recorded contemporaneously,” or a statement made by a witness to the grand

jury. 18 U.S.C. § 3500(e).

      The Supreme Court has held that because the Jencks Act is meant to restrict

the defendant’s use of discoverable statements to impeachment, “only those

statements which could properly be called the witness’s own words should be

made available to the defense.” Palermo v. United States, 360 U.S. 343, 349, 352

(1959). The Court explained that “summaries of an oral statement which evidence

substantial selection of material” or “statements which contain [an] agent’s

interpretation or impressions” are “not to be produced.” Id. 352-53.

      Consistent with Palmero, interview reports are generally not discoverable

under the Jencks Act because they are not statements of the witness within the

meaning of the statute. Unless the witnesses have reviewed and adopted the

reports—which was not the practice in this case—they are not statements of the

witness under § 3500(e)(1). Moreover, because the reports are written after

interviews are completed and reflect the thought processes and interpretations of

the agent, they do not constitute a contemporary and substantially verbatim recital

of the witness’s statement under § 3500(e)(2).

      The Ninth Circuit has held that interview reports generally are not

discoverable under the Jencks Act, which is consistent with other circuits


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addressing this issue. United States v. Claiborne, 765 F.2c 784, 801 (9th Cir.

1985) (“the summaries represent . . . the agents’ selection of certain information. . .

[so] the district court properly characterized the summaries as non-Jencks Act

material”), abrogated on other grounds by Ross v. Oklahoma, 487 U.S. 81 (1988).

See, e.g., United States v. Price, 542 F.3d 617, 621 (8th Cir. 2008) (holding that

absent evidence that the witnesses “approved or adopted” the FBI 302s, “these

documents are not discoverable under . . . the Jencks Act”); United States v.

Jordan, 316 F.3d 1215, 1255 (11th Cir. 2003) (holding that FBI 302s “are not

Jencks Act statements of the witness unless they are substantially verbatim and

were contemporaneously recorded, or were signed and otherwise ratified by the

witness”).

II.   Proper Use of Interview Reports At Trial

      Although production of the interview reports was not required under the

Jencks Act, the government has included its investigative interview reports for the

government’s witnesses at trial in its discovery production. Here, the defendant

should be limited to using those reports consistent with the law and rules of

evidence. In particular, the defense must be precluded from introducing the

contents of the reports to impeach witnesses on the basis of inconsistent statements

because the reports are not the statements of the witnesses themselves. Moreover,

they must be precluded from publishing the contents of the reports to the jury, or


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otherwise suggesting to the jury that the report is a statement of the witness. To

allow otherwise would subvert the meaning of the Jencks Act because it would “be

grossly unfair to allow the defense to use statements to impeach a witness which

could not fairly be said to be the witness’ own rather than the product of the

investigator’s selections, interpretations, and interpolations.” Palermo, 360 U.S. at

350.

       The defendant can, of course, ask a witness whether he or she made a

statement that is reflected in a report. However, if the defendant is not satisfied

with the witness’s answer, the defendant may not publish or introduce the contents

of the report as a prior inconsistent statement. See United States v. Brika, 416 F.3d

514, 529 (6th Cir. 2005) (holding that “such documents [investigative reports] have

been deemed inadmissible for impeaching witnesses on cross-examination”),

abrogated on other grounds by United States v. Booker, 543 U.S. 222 (2005);

United States v. Leonardi, 623 F.2d 746, 757 (2d Cir. 1980) (holding that because

the “written statement of the FBI agent was not attributable to [the witness]” it was

“properly rejected as a prior inconsistent statement”). Moreover, the defendant

may not use the report in a way that suggests to the jury that it is a statement of the

witness. United States v. Marks, 816 F.2d 1207, 1210-11 (7th Cir. 1987) (holding

that defense counsel read from a FBI 302 during cross examination in a way that

would “seem authoritative” and potentially confuse the jury).


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                                   CONCLUSION

      The government asks the Court for a pre-trial ruling to proscribe the use at

trial of interview reports that are not the statements of the testifying witnesses so

that the defendant is prohibited from introducing the contents of the reports to

impeach witnesses during cross examination, publishing the contents to the jury, or

otherwise suggesting to the jury that the reports are statements of the witnesses

who did not write them or adopt them.

                    DATED: January 15, 2020, at Honolulu, Hawaii.


                                                KENJI M. PRICE
                                                United States Attorney
                                                District of Hawaii


                                                By /s/ Gregg Paris Yates
                                                  GREGG PARIS YATES
                                                  Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

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                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
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